      Case 3:13-cv-00308 Document 55 Filed on 01/18/22 in TXSD Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

 TERRY PETTEWAY, DERRICK ROSE,                 §
 MICHAEL MONTEZ, SONNY JAMES,                  §
 and PENNY POPE,                               §
                                               §
                     Plaintiffs,               §
                                               §      Civil Action No. 3:13-CV-00308
 v.                                            §
                                               §
 GALVESTON, TEXAS, and                         §
 HONORABLE MARK HENRY, in his                  §
 official capacity as Galveston County         §
 Judge,                                        §
                                               §
                     Defendants.               §


                  PLAINTIFFS’ NOTICE OF SUGGESTION OF DEATH

       Counsel for Plaintiffs submit this notice of death of Plaintiff Roosevelt Henderson. The

remaining Plaintiffs maintain their claims against Defendants. Fed. R. Civ. P. 25(a)(2). As such,

Plaintiffs respectfully note for the record that this action will proceed with Plaintiffs Terry

Pettaway, Derrick Rose, Michael Montez, Sonny James, and Penny Pope.

 January 18, 2022                                  Respectfully submitted,

                                                   /s/ Chad W. Dunn
 Mark P. Gaber*                                    Chad W. Dunn (Tex. Bar No. 24036507)
 Caleb Jackson*                                    Brazil & Dunn
 Valencia Richardson*                              4407 Bee Cave Road
 Campaign Legal Center                             Building 1, Ste. 111
 1101 14th St. NW, Ste. 400                        Austin, TX 78746
 Washington, DC 20005                              (512) 717-9822
 (202) 736-2200                                    chad@brazilanddunn.com
 mgaber@campaignlegal.org
 cjackson@campaignlegal.org                        Neil G. Baron
 vrichardson@campaignlegal.org                     Law Office of Neil G. Baron
                                                   1010 E Main Street, Ste. A
                                                   League City, TX 77573

                                               1
    Case 3:13-cv-00308 Document 55 Filed on 01/18/22 in TXSD Page 2 of 3




Sonni Waknin*                                      (281) 534-2748
UCLA Voting Rights Project                         neil@ngbaronlaw.com
3250 Public Affairs Building
Los Angeles, CA 90095
Telephone: 310-400-6019
sonni@uclavrp.org


*Motion for admission pro hac vice
forthcoming

                                     Counsel for Plaintiffs




                                               2
     Case 3:13-cv-00308 Document 55 Filed on 01/18/22 in TXSD Page 3 of 3




                              CERTIFICATE OF SERVICE

      I certify that, on January 18, 2022, the foregoing was served on all counsel of record via

the Court’s CM/ECF system.



                                                          /s/ Chad W. Dunn
                                                          Chad W. Dunn

                                                          Counsel for Plaintiffs




                                              3
